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 1                                                          The Honorable Barbara J. Rothstein

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 6
                               UNITED STATES DISTRICT COURT
 7
                              FOR THE DISTRICT OF WASHINGTON
 8                                       AT TACOMA

 9    MICHAEL HANSON,
10                                 Plaintiff,          NO. 3:20-cv-05852-BJR
11
                    vs.                                ORDER GRANTING JOINT
12                                                     MOTION TO STAY DISCOVERY
      C R BARD INC., BARD PERIPHERAL                   AND PRETRIAL DEADLINES
13    VASCULAR INC.,
                             Defendants.
14

15          Upon consideration of the Parties’ JOINT MOTION TO STAY DISCOVERY AND
16   PRETRIAL DEADLINES, and for good cause appearing, IT IS HEREBY ORDERED that the
17   Parties’ Motion is GRANTED, and discovery and all pretrial deadlines are hereby stayed in this
18   case is hereby continued for 90 days after entry of this Order to allow the Parties to conduct
19   ongoing settlement negotiations.
20          IT IS SO ORDERED.
21          DATED this 2nd day of October, 2020.
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24                                               Barbara J. Rothstein
                                                 United States District Judge
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